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            Exhibit - E - Declaration of Luis A. Fernandez Page 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

 In re: Tagnetics, Inc.                        *       Case No. 19-30822
                                               *
                                               •       Judge Humphrey
                                               •       Chapter 7
                                               *
                            DECLARATION OF LUIS A. FERNANDEZ

        I, Luis A. Fernandez, am at least 18 years of age, and declare under the penalty of perjury

 under the laws of the United States of America that the following is true and correct:

         I.      I was an employee ofTagnetics, Inc. ("Tagnetics") from approximately December

 2010 to approximately February 2016, during which time I served as the Chief Financial Officer

 ("CFO"). From approximately March 2016 to June 2019 I served as Tagnetics' outsourced CFO

 working as an independent contractor. I currently serve as Tagnetics' Acting CFO.

        2.       In my capacity as CFO for Tagnetics, I am familiar with the Tagnetics' stock ledger.

        3.       Compass Marketing, Inc. ("Compass"), currently owns approximately 10.13% of

 the shares of Tagnetics.

        4.       Compass also owns options to purchase additional shares ofTagnetics. If Compass

 were to exercise its options to purchase additional shares ofTagnetics, and, depending on whether

 other parties with options to purchase shares ofTagentics were to exercise those options, Compass

 can own up to 39.0% ofTagnetics.

        5.       Compass also owns convertible notes that are convertible to preferred stock of

 Tagnetics. If Compass were to also convert all of its convertible notes, and, depending on whether

 other parties with convertible notes were to convert their notes, Compass can own up to 37.99%

 of Tagnetics.




                                                                                                    EXHIBIT

                                                                                                        E
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            Exhibit - E - Declaration of Luis A. Fernandez Page 2 of 2




        I declare under the penalty of perjury under the laws of the United States of America that

 the following is true and correct.



   9/13/2019 I 7:39 AM COT

 Date                                 Luis A Fernandez      E1EssF3sossF44a...
